    Case 1:20-cv-02804-VSB-RWL                   Document 152       Filed 04/01/25   Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
COREY HARDIN and CHASE WILLIAMS,                               :
individually and on behalf of all others                       :   20-CV-2804 (VSB) (RWL)
similarly situated                                             :
                                                               :
                                    Plaintiffs,                :
                                                               :
                  - against -                                  :   ORDER
                                                               :
                                                               :
TRON FOUNDATION, JUSTIN SUN, and                               :
ZHIQIANG (LUCIEN) CHEN,                                        :
                                                               :
                                    Defendants.                :
                                                               :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        As discussed at the conference and oral argument held on April 1, 2025, via

Microsoft Teams:

        1.       Defendants’ motion for a stay is DENIED without prejudice to renewal in the

event the Second Circuit grants interlocutory appeal.

        2.       The parties shall meet and confer and by April 15, 2025, shall jointly submit

a revised proposed case schedule and proposal, if any, for phased discovery.

        The Clerk of Court is respectfully directed to terminate the motion at Dkt. 133.



                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE



                                                        1
   Case 1:20-cv-02804-VSB-RWL          Document 152      Filed 04/01/25   Page 2 of 2




Dated: April 1, 2025
       New York, New York

Copies transmitted this date to all counsel of record.




                                             2
